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                            DISTRICT COURT OF THE VIRGIN ISLANDS

                                        DIVISION OF ST. CROIX
                                                 ║
ATLANTIC BASIN REFINING,                         ║
                                                 ║
                        Plaintiff,               ║   1:15-cv-00071-WAL-EAH
                                                 ║
        v.                                       ║
                                                 ║
JP ENERGY PARTNERS, LP,                          ║
ARCLIGHT CAPITAL PARTNERS, LLC, ║
                                                 ║
                        Defendants.              ║
________________________________________________ ║


TO:             Joseph P. Klock, Esq.
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                       For Plaintiff
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                Rachel Renee Blitzer, Esq.
                Charles Edward Lockwood, Esq.
                Gregg R. Kronnenberger, Esq.
                Rachel Renee Blitzer, Esq.
                       For Defendants

                                               ORDER

        THIS MATTER comes before the Court sua sponte following Plaintiff Atlantic Basin

Refining’s Notice of Withdrawal from Stipulation, filed after a status conference before the

district judge on August 18, 2023. Dkt. No. 351. In the aforementioned Stipulation, filed in

January 2023, the parties proposed to file a Stipulation for Entry of Judgment and Proposed

Judgment that would have fully resolved this case, subject to Plaintiff’s anticipated appeal.

Dkt. No. 346.
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        Given that, with the withdrawal of the Stipulation, the case is once again active, the

Court will hold a status conference on Monday, November 27, 2023, at 1:00 p.m. AST by

videoconference to determine how the parties plan to proceed. In preparation for that status

conference, the Court will direct the parties to file a joint status report by November 20, 2023

outlining the current status of the case, any discovery issues that may remain, and a

proposed plan forward (with proposed deadlines) that can bring this case to a resolution.

        Accordingly, it is now hereby ORDERED:

        1. A status conference will be scheduled for Monday, November 27, 2023 at 2:00

             p.m. Atlantic Standard Time (1:00 p.m. Eastern time) by videoconference

             before the undersigned Judge. The parties should contact the Clerk’s Office for

             dial-in information.

        2. The parties shall submit a Joint Status Report by November 20, 2023 outlining

             the current status of the case, any discovery issues that may remain, and a

             proposed plan forward (with proposed deadlines) that can bring this case to a

             resolution.

                                                   ENTER:


Dated: October 30, 2023                            /s/ Emile A. Henderson III
                                                   EMILE A. HENDERSON III
                                                   U.S. MAGISTRATE JUDGE
